Case 1:16-cr-20893-FAM Document 28 Entered on FLSD Docket 03/08/2017 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 16-20893-MORENO

  UNITED STATES OF AMERICA

  vs.

  MONTY RAY GROW,

        Defendant.
  _________________________________/

   GOVERNMENT’S SECOND RESPONSE TO THE STANDING DISCOVERY ORDER


            COMES NOW, THE UNITED STATES OF AMERICA, by and through the undersigned

  Assistant United States Attorney and files this third response to the Standing Discovery Order. On

  or about March 7, 2017, the government produced to counsel for the defendant, additional

  documents with bates range of:

           PCAX00000001-01065824

           PCAD000001-000917

           PCA-IOWA000001-005511

           PCA-SKYLINE00001-003547

           PCA-IOWA-AUDIO00001-00007

           GOV_MG-088849-089431

        This supplemental production is made pursuant to the government’s continuing duty to

  disclose information as required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
Case 1:16-cr-20893-FAM Document 28 Entered on FLSD Docket 03/08/2017 Page 2 of 3




  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.


                                                Respectfully submitted,

                                                BENJAMIN A. GREENBERG
                                                ACTING UNITED STATES ATTORNEY

                                        By:     /s/Kevin J. Larsen_____________
                                                Kevin J. Larsen
                                                Assistant United States Attorney
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                                                Kevin.Larsen@usdoj.gov
Case 1:16-cr-20893-FAM Document 28 Entered on FLSD Docket 03/08/2017 Page 3 of 3



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 8, 2017, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF and on or about March 7, 2017 by means
  of U.S. Mail to Daniel Rashbaum, Esq., 2 South Biscayne Blvd., Suite 1750, Miami, FL 33131.


                                                   /s/Kevin J. Larsen_________
                                                   Kevin J. Larsen
                                                   Assistant United States Attorney
